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 3
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 5   Attorney for Defendant
     JANA CATHERINE BRODDIE
 6

 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            ) No. 1:12-CR-40 LJO
                                          )
12
          Plaintiff,                      )
                                          ) STIPULATION AND ORDER FOR
13                                        ) CONTINUANCE OF SENTENCING
     v.                                   )
14                                        )
     JANA CATHERINE BRODDIE,              )
15                                        )
                                          )
16        Defendants.                     )
                                          )
17                                        )
                                          )
18                                        )
19

20        Defendant, JANA CATHERINE BRODDIE, through his attorney
21
     ROBERT L. FORKNER, together with the United States of America
22
     through its undersigned counsel, KATHLEEN A. SERVATIUS,
23
     Assistant United States Attorney, hereby stipulate and request
24
     the following:
25
          1.    That the Sentencing presently set for August 5, 2013
26
     be vacated and rescheduled for September 30, 2013 at 9:00 a.m.
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                             STIPULATION AND PROPOSED ORDER

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 1   in Courtroom 2 before the Honorable Chief District Court Judge,
 2   Lawrence J. O'Neill.
 3        2.     Defense Counsel has just returned from vacation and
 4   has not been able to meet with Ms. Broddie because the
 5   Presentencing Report was received while Defense counsel was on
 6   vacation. A continuance is requested in order to allow a
 7   complete review of the Report from Probation with the defendant,
 8   and to file the necessary objections before the currently
 9   scheduled date.
10

11   IT IS SO STIPULATED.
12

13   Dated:    August 1, 2013                     /s/ Robert L. Forkner
                                                  ROBERT L. FORKNER
14
                                                  Attorney for Defendant
15                                                JANA CATHERINE BRODDIE

16   Dated: August 1, 2013                        BENJAMIN B. WAGNER
                                                  United States Attorney
17

18
                                                  by: /s/ Kathleen A. Servatius
19                                                KATHLEEN A. SERVATIUS
                                                  Assistant U.S. Attorney
20

21

22   IT IS SO ORDERED.
23
     Dated: August 1, 2013
24                                                /s/ Lawrence J. O’Neill_____
                                                  HONORABLE Lawrence J. O'Neill
25                                                UNITED STATES DISTRICT JUDGE
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                             STIPULATION AND PROPOSED ORDER

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